        Case 1:14-ml-02570-RLY-TAB Document 22428 Filed 07/26/22 Page 1 of 1 PageID #:
                                         132599
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Southern District of Indiana


                     PATRICIA GREEN                                  )
                             Plaintiff                               )
                                v.                                   )     Case No. 1:14-ml-2570-RLY-TAB
              COOK INCORPORATED, et al.                              )
                            Defendant                                ) This document relates to case no. 1:22-cv-06849-RLY-TAB

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Patricia Green                                                                                                         .


Date:          07/26/2022                                                                      /s/Basil E. Adham
                                                                                               Attorney’s signature


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